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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   David Smith,                                      No. CV-21-00322-TUC-SHR
10                  Plaintiff,                         Order Re: In Forma Pauperis Status on
                                                       Appeal
11   v.
12   Edna Lara, et al.,
13                  Defendants.
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15
16          On October 29, 2021, the United States Court of Appeals for the Ninth Circuit

17   referred Plaintiff Davis Smith’s case to this Court “for the limited purpose of determining
18   whether in forma pauperis status should continue for this appeal or whether the appeal is

19   frivolous or taken in bad faith.” (Doc. 15; David Smith-Garcia v. Edna Lara, et al., No.

20   21-16818, Docket Entry 2.)
21          According to his Notice of Appeal (Doc. 13), Plaintiff is appealing this Court’s
22   October 13, 2021 Screening Order (Doc. 8) “dismissing Count One of the Complaint.” The

23   Screening Order (Doc. 8) dismissed Count One (a Bivens claim against Defendants Lara

24   and Smith for allegedly failing to protect him from being sexually assaulted by another

25   inmate) because it raised the same claims of one of his other cases before this Court, Smith

26   v. United States, et al., No. CV 20-00289-TUC-SHR. Notably, Plaintiff appears to have
27   understood Count One in the instant case was duplicative of Count Eleven in one of his
28   other cases, as he filed a “Motion to Allow Duplicative Claim” with respect to Count One.
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 1   (Doc. 5.) Plaintiff first raised the failure-to-protect claim in No. CV 20-00289 (No. CV
 2   20-00289 Doc. 23) and the Court dismissed the claim because it sought to extend Bivens
 3   in a new context (No. CV 20-00289 Doc. 39). Nearly one year later, Plaintiff sought to
 4   amend his complaint in No. CV 20-00289 and again brought his failure-to-protect claim in
 5   Count Eleven of his Third Amended Complaint (No. CV 20-00289 Doc. 200). Again, upon
 6   screening of that Third Amended Complaint, the Court dismissed the failure-to-protect
 7   claim because such a claim is not cognizable under Bivens (No. CV 20-00289 Doc. 199).
 8         In the instant case, which was recently closed (Docs. 11, 12), Plaintiff again sought
 9   to bring a Bivens claim against Defendants Lara and Smith for their alleged failure to
10   protect him from being sexually assaulted by another inmate in Count One of his Complaint
11   (Doc. 1). Again, the Court dismissed Count One, explaining:
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13                        Plaintiff raised the claims in Count One in his
                  previously filed case, Smith v. United States, CV 20-00289-
14                TUC-SHR. Plaintiff seeks permission to raise the claims
                  again in this case because he believes the “Bivens Eighth
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                  Amendment claim against Defendant Lara and Defendant
16                Smith had not been properly exhausted through the Federal
                  Bureau of Prisons’ administrative remedy program, although
17                the Plaintiff had originally believed it had.” (Doc. 5 at 1.)
18                        On October 30, 2020, the Court issued a screening
                  Order (Doc. 39 in CV 20-00289) of Plaintiff’s Second
19                Amended Complaint that, in part, dismissed Plaintiff’s
20                Eighth Amendment failure to protect claims against
                  Defendants Smith and Lara because the Court declined to
21                extend the Bivens remedy to such claims. The Court did not
22                consider whether the claim was properly exhausted and
                  Defendants have not raised the issue of exhaustion. Moreover,
23                the Court allowed Plaintiff’s claim under Federal Tort Claims
24                Act (FTCA), which was based on the same facts, to
                  proceed. In addition, Plaintiff has filed a Third Amended
25                Complaint in CV 20-00289 that re-asserts his Eighth
26                Amendment Bivens claims.
                          Although the Court dismissed without prejudice
27                Plaintiff’s Eighth Amendment Bivens claims in CV 20-00289,
                  no final ruling has been issued on any of Plaintiff’s claims in
28
                  that case. See California v. Campbell, 138 F.3d 772, 776


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 1                 (9th Cir. 1998) (A district court’s decision in a civil case
 2                 is final if it “ends the litigation on the merits and leaves
                   nothing for the court to do but execute the judgment.”). Indeed,
 3                 due to Plaintiff’s numerous filings in CV 20-00289, the Court
                   only recently screened his Third Amended Complaint, and that
 4
                   case has been stayed until a Scheduling Order is issued.
 5                         A litigant has “‘no right to maintain two separate actions
                   involving the same subject matter at the same time in the same
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                   court and against the same defendant[s].’” Oliney v. Gardner,
 7                 771 F.2d 856, 859 (5th Cir.1985) (quoting Walton v. Eaton
                   Corp., 563 F.2d 66, 70 (3rd Cir. 1977)); see also Serlin v.
 8                 Arthur Andersen & Co., 3 F.3d 221, 224, (7th Cir. 1993)
 9                 (where there are no significant differences between claims,
                   parties and relief sought in two pending cases, one may be
10                 dismissed as duplicative); Washington Metro. Area Transit
11                 Auth. v. Ragonese, 617 F.2d 828, 830 (D.C. Cir. 1980)
                   (judge “acted within his discretion” in dismissing one of
12                 two identical cases). Accordingly, the Court will deny
13                 Plaintiff’s Motion to Allow Duplicative Claim and dismiss
                   Count One of the Complaint.
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15          As explained by the Ninth Circuit, revocation of in forma pauperis status is

16   appropriate when an appeal is frivolous. See 28 U.S.C. § 1915(a)(3) (“An appeal may not
     be taken in forma pauperis if the trial court certifies in writing that it is not taken in good
17
     faith.”); see also Hooker v. Am. Airlines, 302 F.3d 1091, 1092 (9th Cir. 2002). In Ellis v.
18
     United States, the United States Supreme Court explained:
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                   The only statutory requirement for the allowance of an
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                   indigent's appeal is the applicant’s ‘good faith.’ 28 U.S.C.
21                 § 1915, 28 U.S.C.A. § 1915. In the absence of some evident
                   improper motive, the applicant’s good faith is established by
22                 the presentation of any issue that is not plainly frivolous.
23                 Farley v. United States, 354 U.S. 521, 77 S.Ct. 1371, 1 L.Ed.2d
                   1529. The good-faith test must not be converted into a
24                 requirement of a preliminary showing of any particular degree
25                 of merit. Unless the issues raised are so frivolous that the
                   appeal would be dismissed in the case of a nonindigent litigant,
26                 Fed. R. Crim. Pro. 39(a), 18 U.S.C.A., the request of an
27                 indigent for leave to appeal in forma pauperis must be allowed.

28   356 U.S. 674, 674–75 (1958). Although the appeal in Ellis was from a criminal conviction,


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 1   the Ninth Circuit has applied the Ellis test to civil cases such as the one here, because
 2   § 1915 applies to both criminal and civil proceedings. See John v. Gibson, 270 F.2d 36,
 3   39 (9th Cir. 1959).
 4            Because Plaintiff’s claim for failure to protect has been dismissed multiple times in
 5   multiple cases as non-cognizable under Bivens, the Court finds Plaintiff’s appeal is
 6   frivolous and declines to issue a certificate of appealability.
 7            Accordingly,
 8            IT IS ORDERED Plaintiff’s appeal is frivolous and therefore not taken in good
 9   faith.
10            IT IS FURTHER ORDERED Plaintiff’s in forma pauperis status for this case is
11   revoked.

12            IT IS FURTHER ORDERED this case shall remain closed.

13            Dated this 1st day of November, 2021.

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